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UNITED STATES DISTRICT COURT I

 

 

AUS 30 2021 FOR THE NORTHERN DISTRICT OF ILLINOIS
THOMAS G. BRUTON EASTERN DIVISION
CLERK, U.S. DISTRICT COURT
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Caleb TJame$ ’ t )
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)
Plaintiff(s), )
vs. ) 21 cv 50339
) Judge lain D. Johnston
Te, Robeet erik? Rock vali, college -) Magistrate Judge Lisa A. Jensen
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Youatd- Ni Speorran Uine’s oord of dv. )
)
)
Defendant(s). )

COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This form complaint is designed to help you, as a pro se plaintiff, state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaintiff” and “defendant” are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.
lL. This is a claim for violation of plaintiff's civil rights as protected by the Constitution and

laws of the United States under 42 U.S.C. §§ 1983, 1985, and 1986.
2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.
3. ‘Plaintiff's full name is_Coi¢h srames Qutaby Strecght

If there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
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Defendant, mer. 42 ker, Rotkvaticy Colte fe Howad Ty Sramagn , tL: fais
(name, badge number if known)

D an officer or official employed by Stete ef Th. ;

(department or agency of government)
or

O an individual not employed by a governmental entity.

If there are additional defendants, fill in the above information as to the first-named
defendant and complete the information for each additional defendant on an extra sheet.

5.

The municipality, township or county under whose authority defendant officer or official
actedis Sot af TL . As to plaintiff's federal
constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

Onorabout $/z26/7 2024 , at approximately Olam. O p.m.
(month,day, year)

plaintiff was present in the municipality (or unincorporated area) of +553
writes bel yidere , in the County of __basne ,

State of Illinois, at_ 9553, Jcoa dr ,
(identify location as precisely as possible)

when defendant violated plaintiff's civil rights as follows (Place X in each box that
applies):

arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, was committing or was about to commit a crime;

searched plaintiff or his property without a warrant and without reasonable cause;
used excessive force upon plaintiff;

failed to intervene to protect plaintiff from violation of plaintiff's civil rights by
one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiff's civil rights;

Other:

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Seocn 16 immenen® vio

Goveronn C Mandated testing

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Defendant officer or official acted pursuant to a custom or policy of defendant
municipality, county or township, which custom or policy is the following: (Leave blank

if no custom or policy is alleged):

 

 

 

 

Plaintiff was charged with one or more crimes, specifically:

 

 

 

 

 

(Place an X in the box that applies. If none applies, you may describe the criminal
proceedings under “Other”) The criminal proceedings

O are still pending.
Cl were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.'
O Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

 

O Other:

 

 

‘Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent

may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.

3

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10. Plaintiff further alleges as follows: (Describe what happened that you believe

supports your claims. To the extent possible, be specific as to your own actions and
the actions of each defendant.)

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Searth and Seizure.

 

 

 

 

 

11. Defendant acted knowingly, intentionally, willfully and maliciously.
12. As aresult of defendant’s conduct, plaintiff was injured as follows:
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13. Plaintiff asks that the case be tried by a jury. tt Yes ONo

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14. Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

and/or any other claim that may be supported by the allegations of this complaint.

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional harm, pain and suffering,
loss of income, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. ps4 (Place X in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

attoney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988. Emeegency Lajue ttle cetie®
, before Sep. $7 when

Plaintiff's signature: Gx@o@p— "SOD? invasive medical testeg Stact5

Plaintiffs name (print clearly or type):_Caleh Stre ight

 

 

Plaintiff's mailing address: Cg $tre igint Sgrna.| 60m
City_belv. dere State TL ZIP bles S
Plaintiff’s telephone number: (77¢ ) * 247 ~ 6794

Plaintiff’s email address (if you prefer to be contacted by email):

 

15. Plaintiff has previously filed a case in this district. O Yes t/No

If yes, please list the cases below.

Any additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff. An additional signature page may be added.

5

[If you need additional space for ANY section, please attach an additional sheet and reference that section.)
